                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF WISCONSIN

                                Court Minutes and Order

DATE:      December 8, 2020
JUDGE:     Pamela Pepper
CASE NO:   2020-cv-1771
CASE NAME: William Feehan, et al. v. Wisconsin Elections Commission, et al.
NATURE OF HEARING:       Status Conference
APPEARANCES:             Howard Kleinhendler – Attorney for plaintiff
                         Jody Schmelzer – Attorney for the Wisconsin Elections
                         Commission and members
                         S. Michael Murphy – Attorney for the Wisconsin Elections
                         Commission And members
                         Davida Brook – Attorney for Governor Tony Evers
                         Jeffrey Mandell – Attorney for Governor Tony Evers
                        David Lesser – Attorney for Amicus Democratic National
                        Committee
                        John Devaney – Attorney for Amicus Democratic National
                        Committee
COURTROOM DEPUTY:       Kristine Wrobel
TIME:                    11:08 a.m. – 12:01 p.m.
                   AUDIO OF THIS HEARING AT DKT. NO. 70
       For reasons it explained in detail on the record, the court denied the
plaintiffs’ motion for a consolidated evidentiary hearing and trial on the merits.
Dkt. No. 44.
       After explaining that it need to decide the justiciability questions raised
by the defendants and amici before it could consider the merits of the plaintiff’s
request for injunctive relief, the court asked the plaintiff’s counsel whether the
plaintiff needed time to respond to the defendants’ motions to dismiss (Dkt.
Nos. 51 and 53). Counsel responded that the plaintiff would file both his reply
in support of the motion for injunctive relief and his brief in opposition to the
motions to dismiss by 5:00 p.m. CST today. When the court enquired when the
plaintiff needed a decision from the court (in order to avoid extinguishment of
any appellate rights), counsel responded that he would like the court to rule by
tomorrow (December 9, 2020). After hearing from the defendants and amicus
the DNC regarding when they could file reply briefs, the court ordered that the
deadline for the defendants and amici to file reply briefs in support of the
motions to dismiss was December 9, 2020 at 3 p.m. CST. The court indicated
that it will try to get a decision out as soon as possible.
      The court DENIES the plaintiffs’ motion for consolidated evidentiary
hearing and trial on the merits. Dkt. No. 44.
      The court ORDERS the plaintiff to file his responses to the motions to
dismiss (Dkt. Nos. 51 and 53) and reply brief in support of his motion for
injunctive relief (Dkt. No. 10) by December 8, 2020 at 5 p.m. CST.
                                           1

         Case 2:20-cv-01771-PP Filed 12/08/20 Page 1 of 2 Document 71
       The court ORDERS that if the defendants and amici wish to file reply
briefs in support of the motions to dismiss, they must do so by December 9,
2020 at 3 p.m. CST.
      Dated in Milwaukee, Wisconsin this 8th day of December, 2020.
                                          BY THE COURT:


                                          _____________________________
                                          HON. PAMELA PEPPER
                                          Chief United States District Judge




                                      2

        Case 2:20-cv-01771-PP Filed 12/08/20 Page 2 of 2 Document 71
